
35 N.Y.2d 885 (1974)
Screen Gems-Columbia Music, Inc. et al., Respondents,
v.
Hansen Publications, Inc. et al., Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Argued November 12, 1974.
Decided December 18, 1974.
A. Walter Socolow, Arnold C. Stream and Edward M. Berman for appellants.
Stuart G. Schwartz and Carl G. Bartholomaus for respondents.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER and RABIN. Taking no part: Judge STEVENS.
Order affirmed, with costs. The granting of partial summary judgment, and the severance of so much of the case in which summary judgment was granted, was well within the discretion of the Appellate Division (CPLR 3212, subd. [e]).
